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                          UNITED STATES DISTRICT COURT
              CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
        TRADELINE ENTERPRISES PVT.                 CASE NO.: 2:15-CV-08048 – JAK
          LTD.,                                      (RAOx)
   
                                   Plaintiff,        Hon. John A. Kronstadt
   
                v.                                   NOTICE OF MOTION AND
                                                   MEMORANDUM OF POINTS
          JESS SMITH & SONS COTTON, LLC;             AND AUTHORITIES IN SUPPORT
        and J.G. BOSWELL COMPANY,                  OF MOTION TO WITHDRAW AS
                                                     PLAINTIFF’S COUNSEL
                                 Defendants.
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                                                 1             Case No. 2:15-CV-08048 – JAK (RAOx)
                                                                            MOTION TO WITHDRAW
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    1                              NOTICE OF MOTION AND MOTION

              PLEASE TAKE NOTICE THAT on September 30, 2019 at 9:30 am or as soon thereafter

     as the matter may be heard, before the Honorable John A. Kronstadt, at the above-captioned court,

     the law firm of Quinn Emanuel Urquhart & Sullivan (“Quinn Emanuel”), Counsel for Plaintiff

     Tradeline Enterprises Pvt. Ltd., will and hereby does move the Court for Leave to Withdraw,

     seeking, pursuant to Civil Local Rule 83-2.3.2, an order relieving it as counsel for Tradeline.

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        DATED: August 30, 2019                      QUINN EMANUEL URQUHART &
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                                                    SULLIVAN, LLP

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                                                  By: :
                                                        Dominic Surprenant
                                                      865 South Figueroa Street, 10th Floor
                                                        Los Angeles, California 90017
   
                                                        Attorneys for Plaintiff,
                                                      Tradeline Enterprises Pvt. Ltd.
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                                                         2                Case No. 2:15-CV-08048 – JAK (RAOx)
                                                                                       MOTION TO WITHDRAW
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    1                        MEMORANDUM OF POINTS AND AUTHORITIES
    2          The Local Rules of the United States District Court for the Central District of California

    3 state that an attorney may not withdraw as counsel except by leave of court. L.R. 83-2.3.2. As such,

    4 the law firm of Quinn Emanuel Urquhart & Sullivan LLP (“Quinn Emanuel”), counsel of record for

    5 Plaintiff Tradeline Enterprises Pvt. Ltd. (“Tradeline”), seeks an order from this Court permitting

    6 Quinn Emanuel to withdraw as counsel of record for Tradeline.

    7          Good cause exists to grant this motion. L.R. 83-2.3.2. Here, there are four reasons requiring

    8 Quinn Emanuel’s withdrawal.

    9          First, the attorney/client relationship between Quinn Emanuel and Tradeline has been

   10 terminated pursuant to the terms of the retention agreement between the two parties. The retention

   11 agreement is protected by the attorney-client privilege. See Declaration of Dominic Surprenant

   12 dated August 30, 2019 (“Surprenant Decl.”), ¶2. Quinn Emanuel will submit it to the Court for in

   13 camera review if the Court so requests.

   14          Second, Quinn Emanuel is not getting any of its fees and expenses paid; Tradeline’s

   15 Managing Partner has represented to the undersigned that it is insolvent; and in addition, the funding

   16 agreement that was used to finance the litigation has been exhausted. Surprenant Decl., ¶ 3. Courts

   17 have found that good cause is shown in these circumstances, even in the absence of client consent. 1

   18          Three, it is the undersigned’s understanding that Tradeline has agreed to Quinn Emanuel’s

   19 withdrawal. Surprenant Decl., ¶ 4. 2 The fact that Tradeline consents to the withdrawal is an

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            See, e.g., Lempert v. Campbell, 112 Cal. App. 4th 1161, 1173 (Cal. Ct. App. 2003) (“‘It is
   22   generally recognized that the failure or refusal of a client to pay or secure the proper fees or expenses
        of the attorney after being reasonably requested to do so will furnish grounds for the attorney to
   23   withdraw from the case.’”) (quoting People v. Prince, 268 Cal. App. 2d 398, 406 (Cal. Ct. App.
        1968)); Arch Ins. Co. v. Allegiant Prof. Bus. Servs., No. CV 11-1675 CAS (PJWx), 2012 WL
   24   1745585, *1 (C.D. Cal. May 16, 2012) (declaration demonstrating client’s failure to pay legal fees
        “made a sufficient showing of good cause”); Pension Plan v. Yubacon Inc., No. C-12-0473 DMR,
   25   2014 WL 1101659 (N.D. Cal. Mar. 18, 2014) (“Courts in similar circumstances have held that
   26   failure or inability to pay for legal services constitutes good cause for withdrawal.”).
        2
   27   Because of the sensitive nature of the attorney-client relationship, Quinn Emanuel and Tradeline
      cannot disclose all facts related to this request for withdrawal to the public. Should the Court request
   28 specific facts, Quinn Emanuel can provide additional details in camera to the Court.
                                                      -1-           Case No. 2:15-CV-08048 – JAK (RAOx)
                                        MEMO OF P&A ISO MOTION TO WITHDRAW AS PLAINTIFF'S COUNSEL
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    1 independent basis to grant this motion. See, e.g., Fracasse v. Brent, 6 Cal. 3d 784, 790 (1972) (“It

    2 has long been recognized in this state that the client’s power to discharge an attorney, with or without

    3 cause, is absolute”).

    4          Four, quite apart from the foregoing, with the Ninth Circuit’s affirmance of the defense

    5 judgment, Quinn Emanuel needs to withdraw as counsel to Tradeline, in that there now exists an

    6 actual conflict between Tradeline and the funder, as Tradeline would benefit (as least theoretically)

    7 if the funder became a judgment debtor.           However, as courts have persuasively held, the

    8 communications between a funder and litigation counsel are protected by privilege. See, Odyssey

    9 Wireless, Inc. v. Samsung Elecs. Co., Ltd, No. 315CV01735HRBB, 2016 WL 7665898, at *5 (S.D.

   10 Cal. Sept. 20, 2016) (and cases cited therein); Lambeth Magnetic Structures, LLC v. Seagate Tech.

   11 (US) Holdings, Inc., No. CV 16-538, 2018 WL 466045, at *5 (W.D. Pa. Jan. 18, 2018); In re Int'l

   12 Oil Trading Co., LLC, 548 B.R. 825, 831 (Bankr. S.D. Fla. 2016). Quinn Emanuel cannot be

   13 adverse to a party with whom it has had privileged communications in the case at bar.

   14          Granting this motion and permitting Quinn Emanuel leave to withdraw will not prejudice

   15 Tradeline or any other party. Tradeline agreed in the retention agreement that, under present

   16 circumstances, the attorney-client relationship between it and Quinn Emanuel is terminated.

   17 Defendants can pursue discovery against the funder, if such discovery is (as it has yet to be)

   18 determined to be appropriate.

   19                                                CONCLUSION
   20          For the foregoing reasons, Quinn Emanuel respectfully requests that the Court grant this

   21 Motion.

   22

   23 Dated: August 30, 2019                      QUINN EMANUEL URQUHART &
                                                  SULLIVAN, LLP
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   26                                             By
                                                        Dominic Surprenant
   27
                                                        Attorneys for Plaintiff Tradeline
   28                                                   Enterprises Pvt. Ltd.
                                                     -2-           Case No. 2:15-CV-08048 – JAK (RAOx)
                                       MEMO OF P&A ISO MOTION TO WITHDRAW AS PLAINTIFF'S COUNSEL
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    1                            DECLARATION OF DOMINIC SURPRENANT

    2          I, Dominic Surprenant, declare as follows:

    3          1.      I am a member of the bar of the State of California and Partner at Quinn Emanuel

    4 Urquhart & Sullivan, LLP (“Quinn Emanuel”), attorneys for plaintiff Tradeline Enterprises Pvt.

    5 Ltd. (“Tradeline”). I make this declaration of personal, firsthand knowledge, and if called and

    6 sworn as a witness, I could and would testify competently thereto.

    7          2.      The attorney-client relationship between Quinn Emanuel and Tradeline has been

    8 terminated by the express terms of the retention agreement dated August 6, 2019; the agreement,

    9 however, is protected as strictly confidential by its terms and by the attorney-client privilege and

   10 the attorney work product doctrine. Quinn Emanuel will provide the retention agreement to the

   11 Court for in camera review if the Court so requests.

   12          3.      Quinn Emanuel has not been paid its fees or expenses for several months. The

   13 funding agreement that financed the litigation is exhausted, and it is my understanding from my

   14 discussions with Prashant Palayam, the Managing Director and Founder of Tradeline, that the

   15 company is insolvent.

   16          4.      I advised Mr. Palayam in a telephonic exchange in approximately the third week of

   17 July 2019 that Quinn Emanuel’s representation had been terminated by the express provisions of

   18 the retention agreement, which I confirmed in another telephonic exchange on or about August 20,

   19 2019. I also provided Mr. Palayam written notice that Tradeline could not appear pro se. Hence,

   20 Quinn Emanuel has satisfied Local Rule 83-2.3.4 (firm must inform client in writing that a

   21 corporation cannot appear pro se) and Professional Rule 3:700(A) (withdrawing firm must provide

   22 notice to client with sufficient time for client to obtain new counsel if desired).

   23          I declare under penalty of perjury under the laws of the State of California that the

   24 foregoing is true and correct.

   25          Executed on this 30th day of August, 2019, at Los Angeles, California.

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   27
                                                          Dominic Surprenant
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                                                     -3-           Case No. 2:15-CV-08048 – JAK (RAOx)
                                       MEMO OF P&A ISO MOTION TO WITHDRAW AS PLAINTIFF'S COUNSEL
